Case: 3:16-cv-50310 Document #: 275-20 Filed: 12/18/23 Page 1 of 7 PageID #:5840




                             Exhibit 17
               Defendant Trial Exhibit 72
        ACOG Committee Opinion No. 385 (Nov. 2007)
 Case: 3:16-cv-50310 Document #: 275-20 Filed: 12/18/23 Page 2 of 7 PageID #:5841




IDFPR009516                                                          72
 Case: 3:16-cv-50310 Document #: 275-20 Filed: 12/18/23 Page 3 of 7 PageID #:5842




IDFPR009517
 Case: 3:16-cv-50310 Document #: 275-20 Filed: 12/18/23 Page 4 of 7 PageID #:5843




IDFPR009518
 Case: 3:16-cv-50310 Document #: 275-20 Filed: 12/18/23 Page 5 of 7 PageID #:5844




IDFPR009519
 Case: 3:16-cv-50310 Document #: 275-20 Filed: 12/18/23 Page 6 of 7 PageID #:5845




IDFPR009520
 Case: 3:16-cv-50310 Document #: 275-20 Filed: 12/18/23 Page 7 of 7 PageID #:5846




IDFPR009521
